 

Case 5:18-Cr-00059-C Document 21 Filed 07/17/18 Page 1 of 1 Page|D 56

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

LUBBOCK DIVISIoN
UNITED sTATEs oF AMERICA )
)
v. ) No. 5;18-CR-059-01-C
) ECF
DERRICK ALAN THoMAs )
oRDER

Came on for consideration Defendant’S Discovery Motion - Extraneous Acts. The Court
having considered the motion is of the opinion that same should be GRANTED.

SO ORDERED.

Dared July /fZ ,2018.

 

 

Fs§ldl>?li. CU GS
loR D.STATESD ST CTJUDGE

 

